
		
OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF TAYLOR

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF TAYLOR2024 OK 18Decided: 03/11/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 18, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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In the Matter of the Reinstatement of Lyndon C. Taylor to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.


ORDER


¶1 The petitioner, Lyndon C. Taylor, resigned from the Oklahoma Bar Association on December 12, 2022, and was stricken from the roll of attorneys on December 16, 2022. On September 26, 2023, Taylor petitioned this Court for reinstatement as a member of the Oklahoma Bar Association. On January 10, 2024, the Professional Responsibility Tribunal held a hearing and recommended that the attorney be reinstated. Upon consideration of the matter, we find:

1) The petitioner has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2021, ch.1, app. 1-A.

2) The petitioner has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma.

3) The petitioner has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The petitioner has established by clear and convincing evidence that he possesses the good moral character which would entitle him to be reinstated to the Oklahoma Bar Association.

¶2 IT IS THEREFORE ORDERED that the petition of Lyndon C. Taylor

for reinstatement be granted.

¶3 IT IS FURTHER ORDERED that Reinstatement is conditioned upon: 1) the payment of $645.93 in costs associated with these proceedings; and 2) the payment of the 2024 Bar dues. Costs and dues shall be paid within 30 days of the date of this order and reinstatement is conditioned upon payment.

¶4 DONE BY ORDER OF THE SUPREME COURT THE 11th DAY OF MARCH, 2024.


/s/CHIEF JUSTICE


ALL JUSTICES CONCUR.






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